                                                                                                      Case 09-10078-KHK                           Doc 1         Filed 01/06/09 Entered 01/06/09 15:23:52                                              Desc Main
                                                                                         B1 (Official Form 1) (1/08)                                            Document Page 1 of 38
                                                                                                                                   United States Bankruptcy Court                                                                           Voluntary Petition
                                                                                                                                     Eastern District of Virginia
                                                                                          Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                           Smith Development, Inc.
                                                                                          All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                          (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                           None

                                                                                         Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                         (if more than one, state all): 8751; EIN: XX-XXXXXXX                              (if more than one, state all):

                                                                                          Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                           4948 Old Dominion Drive
                                                                                           Arlington, VA
                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                   22207
                                                                                          County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
                                                                                           Arlington
                                                                                          Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):
                                                                                           PO Box 5277
                                                                                           Arlington, VA
                                                                                                                                                                ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                   22205
                                                                                          Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                         ZIPCODE
                                                                                                          North Arlington, VA 22207, As shown on Schedule A, 501 Lombardy St. North Arlington, VA                                                           22203
                                                                                                        Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                     (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                        (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                                        Single Asset Real Estate as defined in
                                                                                                                                                                                                                                           Chapter 15 Petition for
                                                                                             Individual (includes Joint Debtors)
                                                                                                                                                        11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                             See Exhibit D on page 2 of this form.
                                                                                                                                                        Railroad                                                                           Main Proceeding
                                                                                             Corporation (includes LLC and LLP)                                                                                  Chapter 11
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                                                                                             Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                  Chapter 12
                                                                                             Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                 Chapter 13                Nonmain Proceeding
                                                                                             check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                        Other                                                                     Nature of Debts
                                                                                                                                                                                                                                   (Check one box)
                                                                                                                                                                                                                 Debts are primarily consumer
                                                                                                                                                                   Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                                 (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                           Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                           under Title 26 of the United States                   personal, family, or household
                                                                                                                                                           Code (the Internal Revenue Code)                      purpose."
                                                                                                                     Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                 Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                     Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                 Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                 signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                 to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                                  Check all applicable boxes
                                                                                                 Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                                 attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                     Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                     more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                           Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                                         COURT USE ONLY
                                                                                             Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                             Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                             distribution to unsecured creditors.
                                                                                         Estimated Number of Creditors

                                                                                          1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                           5000             10,000            25,000         50,000           100,000       100,000
                                                                                         Estimated Assets

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                         Estimated Liabilities

                                                                                         $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                         $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                         million        million          million         million           million
                                                                                                 Case
                                                                                         B1 (Official   09-10078-KHK
                                                                                                      Form 1) (1/08)                         Doc 1        Filed 01/06/09 Entered 01/06/09 15:23:52                                                Desc Main               Page 2
                                                                                                                                                          Document Page 2 of 38
                                                                                         Voluntary Petition                                                                           Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                       Smith Development, Inc.
                                                                                                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                         Location                                                                             Case Number:                                           Date Filed:
                                                                                         Where Filed:

                                                                                         Location                                                                              Case Number:                                          Date Filed:
                                                                                         Where Filed:

                                                                                             Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                        NONE
                                                                                          Name of Debtor:                                           Case Number:                           Date Filed:


                                                                                          District:                                                                            Relationship:                                          Judge:


                                                                                                                         Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                           (To be completed if debtor is an individual
                                                                                         (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                         10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                         Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                 the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                         relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                 I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                                  Exhibit A is attached and made a part of this petition.                        X
                                                                                                                                                                                       Signature of Attorney for Debtor(s)                             Date


                                                                                                                                                                      Exhibit C
                                                                                         Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                  Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                  No
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                                                                                                                                                                        Exhibit D
                                                                                          (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                      Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                          If this is a joint petition:
                                                                                                      Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                     Information Regarding the Debtor - Venue
                                                                                                                                                                 (Check any applicable box)
                                                                                                                  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                  immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                  There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                                                  Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                  or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                  court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                            Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                   (Check all applicable boxes)
                                                                                                                  Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                  (Name of landlord that obtained judgment)


                                                                                                                                                                   (Address of landlord)
                                                                                                                  Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                  entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                  Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                  period after the filing of the petition.
                                                                                                                  Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                         Voluntary Petition                                                                     Name of Debtor(s):
                                                                                         (This page must be completed and filed in every case)                                 Smith Development, Inc.
                                                                                                                                                                        Signatures
                                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                           I declare under penalty of perjury that the information provided in this petition
                                                                                           is true and correct.
                                                                                           [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                           has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                           chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                           available under each such chapter, and choose to proceed under chapter 7.
                                                                                           [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                           petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States
                                                                                           I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                           Code, specified in this petition.                                                                attached.

                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                            title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                           X
                                                                                               Signature of Debtor                                                                  X
                                                                                                                                                                                        (Signature of Foreign Representative)
                                                                                           X
                                                                                               Signature of Joint Debtor

                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                Telephone Number (If not represented by attorney)


                                                                                                Date                                                                                     (Date)

                                                                                                                Signature of Attorney*
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                                                                                          X       /s/ Martin C. Conway, Esq.                                                               Signature of Non-Attorney Petition Preparer
                                                                                               Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                 as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                               MARTIN C. CONWAY, ESQ. 34334                                                      and have provided the debtor with a copy of this document and the notices
                                                                                               Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                 3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                               Pesner | Kawamoto | Conway                                                        setting a maximum fee for services chargeable by bankruptcy petition
                                                                                               Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                               7926 Jones Branch Drive                                                           document for filing for a debtor or accepting any fee from the debtor, as
                                                                                               Address                                                                           required in that section. Official Form 19 is attached.
                                                                                               Suite 930       McLean, VA 22102
                                                                                                                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                               703-506-9440 Ptaylor@pkc-law.com
                                                                                            Telephone Number                                    e-mail
                                                                                                                                                                                 Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                               1/6/2009                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                             Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                          *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                          certification that the attorney has no knowledge after an inquiry that the
                                                                                          information in the schedules is incorrect.                                              Address

                                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                            is true and correct, and that I have been authorized to file this petition on       X
                                                                                            behalf of the debtor.

                                                                                            The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                            United States Code, specified in this petition.
                                                                                                                                                                                    Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                    person, or partner whose Social Security number is provided above.
                                                                                          X /s/ M. Kevin Smith
                                                                                               Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                    assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                               M. KEVIN SMITH                                                                       not an individual:
                                                                                               Printed Name of Authorized Individual
                                                                                               President                                                                            If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                    conforming to the appropriate official form for each person.
                                                                                               Title of Authorized Individual
                                                                                               1/6/2009                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                              Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                          UNITED STATES
                                  DocumentBANKRUPTCY
                                                Page 4 of 38 COURT
                                Eastern District of Virginia


In re   Smith Development, Inc.                        ,
                                      Debtor                       Case No.

                                                                   Chapter     11



                                    Voluntary Petition Continuation Sheet




                                  Additional Prior Bankruptcy Case(s) Filed Within Last 8 Years
 Location                                                     Case Number:                 Date Filed:
 Where Filed:
 Location                                                     Case Number:                 Date Filed:
 Where Filed:

 Location                                                     Case Number:                 Date Filed:
 Where Filed:
                                                                                         B4 (Official
                                                                                                  CaseForm4)(12/07)
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                                                                                                                                   UNITED STATES BANKRUPTCY COURT
                                                                                                                                         Eastern District of Virginia


                                                                                         In re     Smith Development, Inc.                                          ,
                                                                                                                                            Debtor                                    Case No.

                                                                                                                                                                                      Chapter        11



                                                                                                              LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS


                                                                                                 Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in
                                                                                         accordance with Fed. R. Bankr. P. 1007(d) for filing in this chapter 11 [or chapter 9] case. The list does not include (1)
                                                                                         persons who come within the definition of "insider" set forth in 11 U.S.C.§ 101, or (2) secured creditors unless the
                                                                                         value of the collateral is such that the unsecured deficiency places the creditor among the holders of the 20 largest
                                                                                         unsecured claims. If a minor child is one of the creditors holding the 20 largest unsecured claims, state the child's
                                                                                         initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                         guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).
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                                                                                                 (1)                           (2)                                      (3)                            (4)                         (5)
                                                                                         Name of creditor         Name, telephone number and                      Nature of claim               Indicate if                 Amount of claim
                                                                                         and complete             complete mailing address,                       (trade debt, bank             claim is                    [if secured also
                                                                                         mailing address          including zip code, of employee,                loan, government              contingent, unliquidated,   state value of security]
                                                                                         including zip code       agent, or department of creditor                contract, etc.                disputed or
                                                                                                                  familiar with claim who may be contacted                                      subject to setoff




                                                                                                 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


                                                                                                 I, [the president or other officer or an authorized agent of the corporation] named as debtor in this case, declare
                                                                                         under penalty of perjury that I have read the foregoing LIST OF CREDITORS HOLDING 20 LARGEST
                                                                                         UNSECURED CLAIMS and that it is true and correct to the best of my information and belief.


                                                                                         Date        1/6/2009

                                                                                                                                                                                      /s/ M. Kevin Smith
                                                                                                                                                             Signature
                                                                                                                                                                                M. KEVIN SMITH,
                                                                                                                                                                                President
                                                                                                  Case 09-10078-KHK                     Doc 1   Filed 01/06/09 Entered 01/06/09 15:23:52                             Desc Main
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                                                                                               B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                Eastern District of Virginia
                                                                                                           Smith Development, Inc.
                                                                                              In re                                                                                        Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                           Chapter        11

                                                                                                                                              SUMMARY OF SCHEDULES
                                                                                         Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                         I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                         claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                         Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                    AMOUNTS SCHEDULED
                                                                                                                                        ATTACHED
                                                                                           NAME OF SCHEDULE                              (YES/NO)        NO. OF SHEETS            ASSETS               LIABILITIES            OTHER
                                                                                           A – Real Property
                                                                                                                                        YES                     2            $   6,500,000.00

                                                                                           B – Personal Property
                                                                                                                                        YES                     3            $    857,200.00
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                                                                                           C – Property Claimed
                                                                                               as exempt                                YES                     1

                                                                                           D – Creditors Holding
                                                                                              Secured Claims                            YES                     1                                  $   5,236,313.94

                                                                                           E - Creditors Holding Unsecured
                                                                                               Priority Claims                          YES                     2                                  $           0.00
                                                                                              (Total of Claims on Schedule E)
                                                                                           F - Creditors Holding Unsecured
                                                                                               Nonpriority Claims                       YES                     1                                  $     803,766.67

                                                                                           G - Executory Contracts and
                                                                                               Unexpired Leases                         YES                     1

                                                                                           H - Codebtors
                                                                                                                                        YES                     1

                                                                                           I - Current Income of
                                                                                               Individual Debtor(s)                     YES                     1                                                        $          0.00

                                                                                           J - Current Expenditures of Individual
                                                                                               Debtors(s)                               YES                     1                                                        $          0.00


                                                                                                                                TOTAL                           14           $   7,357,200.00      $   6,040,080.61
                                                                                             CaseForm
                                                                                           Official 09-10078-KHK          Doc 1(12/07)
                                                                                                       6 - Statistical Summary     Filed             01/06/09 Entered 01/06/09 15:23:52                       Desc Main
                                                                                                                                                 Document Page 7 of 38
                                                                                                                               United States Bankruptcy Court
                                                                                                                                                 Eastern District of Virginia

                                                                                                      In re       Smith Development, Inc.                                           Case No.
                                                                                                                                                Debtor
                                                                                                                                                                                    Chapter         11

                                                                                         STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                         §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                               Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                         information here.

                                                                                         This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                         Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                            Type of Liability                                                         Amount

                                                                                            Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                          N.A.
                                                                                            Taxes and Certain Other Debts Owed to Governmental Units (from            $
                                                                                            Schedule E)
                                                                                                                                                                          N.A.
                                                                                            Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                            Schedule E) (whether disputed or undisputed)                                  N.A.
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                                                                                            Student Loan Obligations (from Schedule F)                                $   N.A.
                                                                                            Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                            Obligations Not Reported on Schedule E                                        N.A.
                                                                                            Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                            (from Schedule F)                                                             N.A.

                                                                                                                                                             TOTAL    $   N.A.


                                                                                           State the Following:
                                                                                            Average Income (from Schedule I, Line 16)                                 $   N.A.
                                                                                            Average Expenses (from Schedule J, Line 18)                               $   N.A.
                                                                                            Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                            22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                          N.A.



                                                                                           State the Following:
                                                                                            1. Total from Schedule D, “UNSECURED PORTION, IF                                         $   N.A.
                                                                                            ANY” column

                                                                                            2. Total from Schedule E, “AMOUNT ENTITLED TO
                                                                                            PRIORITY” column.
                                                                                                                                                                      $   N.A.

                                                                                            3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                        $
                                                                                            PRIORITY, IF ANY” column                                                                     N.A.

                                                                                            4. Total from Schedule F                                                                 $   N.A.
                                                                                            5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                             $   N.A.
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                                                                                           B6 Cover (Form 6 Cover) (12/07)



                                                                                           FORM 6. SCHEDULES

                                                                                           Summary of Schedules
                                                                                           Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                           Schedule A - Real Property
                                                                                           Schedule B - Personal Property
                                                                                           Schedule C - Property Claimed as Exempt
                                                                                           Schedule D - Creditors Holding Secured Claims
                                                                                           Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                           Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                           Schedule G - Executory Contracts and Unexpired Leases
                                                                                           Schedule H - Codebtors
                                                                                           Schedule I - Current Income of Individual Debtor(s)
                                                                                           Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                           Unsworn Declaration under Penalty of Perjury
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                                                                                           GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                           amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                           identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                           the case number should be left blank

                                                                                           Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                           claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                           A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                           which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                           the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                           transactions, each claim should be scheduled separately.

                                                                                           Review the specific instructions for each schedule before completing the schedule.
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                                                                                         In re    Smith Development, Inc.                                                               Case No.
                                                                                                                    Debtor                                                                                                     (If known)

                                                                                                                                         SCHEDULE A - REAL PROPERTY
                                                                                            Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                         tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                         the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                         “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                         “Description and Location of Property.”

                                                                                           Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                             If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                         claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                            If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                         Property Claimed as Exempt.




                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                        CURRENT VALUE
                                                                                                                                                                                                                          OF DEBTOR’S
                                                                                                       DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN         AMOUNT OF
                                                                                                              OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT        SECURED
                                                                                                                                                                                                                        DEDUCTING ANY           CLAIM
                                                                                                                                                                                                                        SECURED CLAIM
                                                                                                                                                                                                                         OR EXEMPTION



                                                                                          Building Lot # 1 finished building lot                        Fee Simple                                                           600,000.00          383,778.12
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                                                                                          5630 - 5700 26th Street North
                                                                                          Arlington, VA 22207


                                                                                          Building Lot - Lyon Park - vacant & finished                                                                                       650,000.00          504,971.18
                                                                                          201 Fillmore Street North
                                                                                          Arlington, VA 22201


                                                                                          Finished Home - Spy Hill #6                                                                                                      1,300,000.00          988,312.45
                                                                                          508 Littleton St N
                                                                                          Arlington, VA 22203


                                                                                          Finished Home - Spy Hill #5                                                                                                      1,400,000.00         1,050,340.13
                                                                                          6011 -B 4th Street North
                                                                                          Arlington, VA 22203


                                                                                          Finished Home - Spy Hill #3                                                                                                      1,350,000.00          988,612.45
                                                                                          501 Lombardy St N
                                                                                          Arlington, VA 22203




                                                                                                                                                                                       Total

                                                                                                                                                                                       (Report also on Summary of Schedules.)
                                                                                                    Case
                                                                                         B6A (Official Form09-10078-KHK
                                                                                                           6A) (12/07)              Doc 1    Filed 01/06/09 Entered 01/06/09 15:23:52                                       Desc Main
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                                                                                         In re   Smith Development, Inc.                                               Case No.
                                                                                                                Debtor                                                                                         (If known)

                                                                                                                                    SCHEDULE A - REAL PROPERTY
                                                                                                                                                (Continuation Page)




                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                        CURRENT VALUE
                                                                                                                                                                                                          OF DEBTOR’S
                                                                                                     DESCRIPTION AND LOCATION                    NATURE OF DEBTOR’S                                       INTEREST IN         AMOUNT OF
                                                                                                            OF PROPERTY                         INTEREST IN PROPERTY                                  PROPERTY, WITHOUT        SECURED
                                                                                                                                                                                                        DEDUCTING ANY           CLAIM
                                                                                                                                                                                                        SECURED CLAIM
                                                                                                                                                                                                         OR EXEMPTION


                                                                                          Building Lot #2 finished building lot               Fee Simple                                                     600,000.00          383,778.12

                                                                                          5630-5700 26th Street
                                                                                          North Arlington, VA 22207



                                                                                          Building Lot #3 - finished building lot             Fee Simple                                                     600,000.00          383,778.12
                                                                                          5630-5700 26th Street
                                                                                          North Arlington, VA 22207
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                                                                                                                                                                       Total
                                                                                                                                                                                                           6,500,000.00

                                                                                                                                                                       (Report also on Summary of Schedules.)
                                                                                                        Case 09-10078-KHK
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                                                                                         In re      Smith Development, Inc.                                                           Case No.
                                                                                                                           Debtor                                                                             (If known)

                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                              Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                         place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                         identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                         community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                         individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                             Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                         Unexpired Leases.

                                                                                               If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                         If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                         "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                 N                                                                                            IN PROPERTY,
                                                                                                      TYPE OF PROPERTY                           O               DESCRIPTION AND LOCATION                                                       WITHOUT
                                                                                                                                                 N                     OF PROPERTY                                                          DEDUCTING ANY
                                                                                                                                                 E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION


                                                                                           1.    Cash on hand.                                   X
                                                                                           2. Checking, savings or other financial                   Wachovia Checking Account                                                                    3,300.00
                                                                                           accounts, certificates of deposit, or shares in
                                                                                           banks, savings and loan, thrift, building and             Wachovia
                                                                                           loan, and homestead associations, or credit
                                                                                                                                                     PO Box 40031
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                                                                                           unions, brokerage houses, or cooperatives.
                                                                                                                                                     Roanoke, VA 24022

                                                                                           3. Security deposits with public utilities,           X
                                                                                           telephone companies, landlords, and others.

                                                                                           4. Household goods and furnishings, including         X
                                                                                           audio, video, and computer equipment.

                                                                                           5. Books. Pictures and other art objects,             X
                                                                                           antiques, stamp, coin, record, tape, compact disc,
                                                                                           and other collections or collectibles.

                                                                                           6.    Wearing apparel.                                X
                                                                                           7.    Furs and jewelry.                               X
                                                                                           8. Firearms and sports, photographic, and             X
                                                                                           other hobby equipment.

                                                                                           9. Interests in insurance policies. Name              X
                                                                                           insurance company of each policy and itemize
                                                                                           surrender or refund value of each.

                                                                                           10. Annuities. Itemize and name each issuer.          X
                                                                                           11. Interests in an education IRA as defined in       X
                                                                                           26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                           tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                           Give particulars. (File separately the record(s) of
                                                                                           any such interest(s). 11 U.S.C. § 521(c).)

                                                                                           12. Interests in IRA, ERISA, Keogh, or other          X
                                                                                           pension or profit sharing plans. Give particulars.

                                                                                           13. Stock and interests in incorporated and           X
                                                                                           unincorporated businesses. Itemize.
                                                                                                    Case
                                                                                         B6B (Official Form 09-10078-KHK
                                                                                                            6B) (12/07) -- Cont.                  Doc 1    Filed 01/06/09 Entered 01/06/09 15:23:52                                   Desc Main
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                                                                                         In re     Smith Development, Inc.                                                                Case No.
                                                                                                                           Debtor                                                                         (If known)

                                                                                                                                              SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                              (Continuation Sheet)




                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                  N                                                                                      IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                             O                  DESCRIPTION AND LOCATION                                              WITHOUT
                                                                                                                                                  N                        OF PROPERTY                                                 DEDUCTING ANY
                                                                                                                                                  E                                                                                    SECURED CLAIM
                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                           14. Interests in partnerships or joint ventures.       X
                                                                                           Itemize.

                                                                                           15. Government and corporate bonds and other           X
                                                                                           negotiable and non-negotiable instruments.

                                                                                           16. Accounts receivable.                                   Purchaser Default - Mehdi Hasheminejad                                               528,700.00
                                                                                                                                                      Defaulting Purchaser's Liability for Loss to date

                                                                                                                                                      EBJ Investments - Default Purchaser                                                  297,700.00
                                                                                                                                                      Defaulting Purchaser Liability for Loss to date

                                                                                           17. Alimony, maintenance, support, and                 X
                                                                                           property settlement to which the debtor is or
                                                                                           may be entitled. Give particulars.
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                                                                                           18. Other liquidated debts owing debtor                X
                                                                                           including tax refunds. Give particulars.

                                                                                           19. Equitable or future interests, life estates, and   X
                                                                                           rights or powers exercisable for the benefit of
                                                                                           the debtor other than those listed in Schedule A -
                                                                                           Real Property.

                                                                                           20. Contingent and noncontingent interests in          X
                                                                                           estate or a decedent, death benefit plan, life
                                                                                           insurance policy, or trust.

                                                                                           21. Other contingent and unliquidated claims of        X
                                                                                           every nature, including tax refunds,
                                                                                           counterclaims of the debtor, and rights of setoff
                                                                                           claims. Give estimated value of each.

                                                                                           22. Patents, copyrights, and other intellectual        X
                                                                                           property. Give particulars.

                                                                                           23. Licenses, franchises, and other general            X
                                                                                           intangibles. Give particulars.

                                                                                           24. Customer lists or other compilations               X
                                                                                           containing personally identifiable information
                                                                                           (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                           the debtor by individuals in connection with
                                                                                           obtaining a product or service from the debtor
                                                                                           primarily for personal, family, or household
                                                                                           purposes.

                                                                                           25. Automobiles, trucks, trailers, and other               Toyota Tundra Pickup                                                                   4,500.00
                                                                                           vehicles and accessories.
                                                                                                                                                      Arlington, VA

                                                                                                                                                      Accura MDX SUV                                                                        22,000.00
                                                                                                  Case
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                                                                                         In re    Smith Development, Inc.                                                          Case No.
                                                                                                                           Debtor                                                                           (If known)

                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                         (Continuation Sheet)




                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                             CURRENT VALUE OF




                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                             DEBTOR’S INTEREST
                                                                                                                                              N                                                                                                 IN PROPERTY,
                                                                                                     TYPE OF PROPERTY                         O                DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                              N                      OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                              E                                                                                               SECURED CLAIM
                                                                                                                                                                                                                                               OR EXEMPTION



                                                                                                                                                  Arlington, VA

                                                                                           26. Boats, motors, and accessories.                X
                                                                                           27. Aircraft and accessories.                      X
                                                                                           28. Office equipment, furnishings, and supplies.       Misc Office Spply                                                                                 1,000.00
                                                                                                                                                  Arlington, VA

                                                                                           29. Machinery, fixtures, equipment, and            X
                                                                                           supplies used in business.

                                                                                           30. Inventory.                                     X
                                                                                           31. Animals.                                       X
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                                                                                           32. Crops - growing or harvested. Give             X
                                                                                           particulars.

                                                                                           33. Farming equipment and implements.              X
                                                                                           34. Farm supplies, chemicals, and feed.            X
                                                                                           35. Other personal property of any kind not        X
                                                                                           already listed. Itemize.




                                                                                                                                                                      0   continuation sheets attached        Total                          $    857,200.00
                                                                                                                                                                          (Include amounts from any continuation
                                                                                                                                                                            sheets attached. Report total also on
                                                                                                                                                                                  Summary of Schedules.)
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                                                                                         In re     Smith Development, Inc.                                                   Case No.
                                                                                                                   Debtor                                                                          (If known)

                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                           Debtor claims the exemptions to which debtor is entitled under:
                                                                                           (Check one box)

                                                                                                 11 U.S.C. § 522(b)(2)                                       Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                             $136,875.
                                                                                                 11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                              CURRENT
                                                                                                                                                        SPECIFY LAW                   VALUE OF           VALUE OF PROPERTY
                                                                                                     DESCRIPTION OF PROPERTY                          PROVIDING EACH                  CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                         EXEMPTION                   EXEMPTION               EXEMPTION




                                                                                                 Not Applicable.
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                                                                                                  Smith Development, Inc.
                                                                                         In re _______________________________________________,                                                                       Case No. _________________________________
                                                                                                                       Debtor                                                                                                                                        (If known)

                                                                                                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                   State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                         by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                         useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                         such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                    List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                         address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                         §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                         include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                         husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                         "Husband, Wife, Joint, or Community."
                                                                                                   If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                         labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                         one of these three columns.)
                                                                                                   Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                         labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                         Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                         the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                                                                                                                                                                                                                                                                AMOUNT
                                                                                                                                                   HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                              DATE CLAIM WAS INCURRED,                                                             OF
                                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                                                     ORCOMMUNITY




                                                                                                    CREDITOR’S NAME,
                                                                                                     MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                             CLAIM            UNSECURED
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                                                                                                   INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                               WITHOUT            PORTION,
                                                                                                  AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                             DEDUCTING            IF ANY
                                                                                                    (See Instructions Above.)                                                      SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                                                                                              COLLATERAL


                                                                                         ACCOUNT NO. 1458599                                                              Incurred: 2008
                                                                                                                                                                          Security: Real Property
                                                                                         Arlington County Treasurer
                                                                                         #1 Courthouse Plaza                                                                                                                                                     55,628.94             0.00
                                                                                         Arlington, VA 22216-0530

                                                                                                                                                                           VALUE $                     55,628.94
                                                                                         ACCOUNT NO. 900065                                                               Incurred: 2004
                                                                                                                                                                          Lien: First Mortgage
                                                                                         First Horizon Construction Lending
                                                                                                                                                                          Security: Real Estate
                                                                                         6650 Rivers Ave, #126-CC#8514                                                                                                                                        4,684,685.00             0.00
                                                                                         North Charleston, SC 29406

                                                                                                                                                                           VALUE $                 6,500,000.00
                                                                                         ACCOUNT NO. 4401      3807 1003 6701                                             Incurred: July 2007
                                                                                                                                                                          Lien: Second Mortgage
                                                                                         Wachovia Bank                                                                    Security: 4948 Old Dominion Dr. Arlington
                                                                                         PO Box 96074                                                                     VA 22207                                                                              496,000.00             0.00
                                                                                         Charlotte, NC 28296-0074

                                                                                                                                                                           VALUE $                   496,000.00

                                                                                            0
                                                                                          _______continuation sheets attached                                                                                      Subtotal     $ 5,236,313.94                               $         0.00
                                                                                                                                                                                                           (Total of this page)
                                                                                                                                                                                                                       Total    $ 5,236,313.94                               $         0.00
                                                                                                                                                                                                        (Use only on last page)
                                                                                                                                                                                                                                                    (Report also on       (If applicable, report
                                                                                                                                                                                                                                                    Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                          Summary of Certain
                                                                                                                                                                                                                                                                          Liabilities and Related
                                                                                                                                                                                                                                                                          Data.)
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                                                                                                    Smith Development, Inc.
                                                                                            In re________________________________________________________________,                         Case No.______________________________
                                                                                                                    Debtor                                                                               (if known)

                                                                                                 SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                  A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                           unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                           address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                           property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                           the type of priority.

                                                                                                  The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                           the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                           "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                   If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                           entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                           both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                           Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                           in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                           more than one of these three columns.)

                                                                                                 Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                           Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                           amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                           primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                    Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
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                                                                                           amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                           with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                           Data.



                                                                                               Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                          TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                Domestic Support Obligations

                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                         or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                         11 U.S.C. § 507(a)(1).


                                                                                                Extensions of credit in an involuntary case

                                                                                               Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                         appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                Wages, salaries, and commissions

                                                                                                  Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                Contributions to employee benefit plans

                                                                                                     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                             cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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                                                                                                      Smith Development, Inc.
                                                                                               In re________________________________________________________________,                      Case No.______________________________
                                                                                                                       Debtor                                                                            (if known)




                                                                                                Certain farmers and fishermen
                                                                                              Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                Deposits by individuals
                                                                                              Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                          that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                Taxes and Certain Other Debts Owed to Governmental Units

                                                                                              Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



                                                                                                Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                             Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
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                                                                                          Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                          U.S.C. § 507 (a)(9).



                                                                                                Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                               Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                         alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                           * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                           adjustment.




                                                                                                                                                    0
                                                                                                                                                   ____ continuation sheets attached
                                                                                                   Case 09-10078-KHK                       Doc 1                             Filed 01/06/09 Entered 01/06/09 15:23:52                                                Desc Main
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                                                                                         B6F (Official Form 6F) (12/07)

                                                                                                  Smith Development, Inc.
                                                                                          In re __________________________________________,                                                                    Case No. _________________________________
                                                                                                                         Debtor                                                                                                                           (If known)

                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                          against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                          of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                          1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                          appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                          community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                          "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                    Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                          Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                          Related Data.
                                                                                                   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                         HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                           ORCOMMUNITY




                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                              CODEBTOR




                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                          DISPUTED
                                                                                                     CREDITOR’S NAME,                                                                                                                                                    AMOUNT
                                                                                                      MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                        OF
                                                                                                    INCLUDING ZIP CODE,                                                                                                                                                   CLAIM
                                                                                                   AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                     (See instructions above.)

                                                                                         ACCOUNT NO.                                                                            Incurred: 2008
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                                                                                                                                                                                Consideration: Other
                                                                                         DeLashmutt Assoc
                                                                                         1120 s. George Mason Dr                                                                                                                                                              3,207.95
                                                                                         Arlington, VA 22204



                                                                                         ACCOUNT NO.                                                                            Incurred: 2008
                                                                                                                                                                                Consideration: Other
                                                                                         James Kovarik, PC
                                                                                         PO Box 521                                                                                                                                                                           2,455.00
                                                                                         Herndon, VA 20172



                                                                                         ACCOUNT NO.                                                                            Incurred: 2/28/2006
                                                                                                                                                                                Consideration: Personal loan
                                                                                         M. Kevin Smith
                                                                                         4948 Old Dominion Dr.                                                                                                                                                              787,359.00
                                                                                         Arlington, VA



                                                                                         ACCOUNT NO.         07011                                                              Incurred: 2008
                                                                                                                                                                                Consideration: Other
                                                                                         McManus, Schor, Asmar 8 Darden,
                                                                                         LLP                                                                                                                                                                                 10,744.72
                                                                                         1155 15th St, NW, Suite 900
                                                                                         Washington, DC 20005



                                                                                             _______continuation sheets attached                         0                                                                  Subtotal                                 $      803,766.67
                                                                                                                                                                                                             Total                                                   $      803,766.67
                                                                                                                                                              (Use only on last page of the completed Schedule F.)
                                                                                                                                          (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                Summary of Certain Liabilities and Related Data.)
                                                                                                    Case 09-10078-KHK                 Doc 1       Filed 01/06/09 Entered 01/06/09 15:23:52                               Desc Main
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                                                                                                 Smith Development, Inc.
                                                                                         In re                                                                              Case No.
                                                                                                                   Debtor                                                                              (if known)

                                                                                                 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                          State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                          names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                          contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                          guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                 Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                            DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                 NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                    OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                  Case 09-10078-KHK                  Doc 1       Filed 01/06/09 Entered 01/06/09 15:23:52                              Desc Main
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                                                                                         In re   Smith Development, Inc.                                                   Case No.
                                                                                                                  Debtor                                                                              (if known)


                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                                             Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                         debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                         property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                         Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                         name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                         commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                         commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                         parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                         Fed. Bankr. P. 1007(m).
                                                                                             Check this box if debtor has no codebtors.



                                                                                                       NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR


                                                                                            Kevin Smith
                                                                                            4948 Old Dominion Dr.
                                                                                            Arlington, VA 22207
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                                                                                                        Case
                                                                                               B6 (Official Form09-10078-KHK
                                                                                                                 6 - Declaration) (12/07)Doc                                 1      Filed 01/06/09 Entered 01/06/09 15:23:52                                                                   Desc Main
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                                                                                                         Smith Development, Inc.
                                                                                               In re                                                                                                                                        Case No.
                                                                                                                                      Debtor                                                                                                                                   (If known)

                                                                                                                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                              DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                               are true and correct to the best of my knowledge, information, and belief.



                                                                                                Date                                                                                                                 Signature:
                                                                                                                                                                                                                                                                        Debtor:


                                                                                                Date                                                                                                                 Signature:
                                                                                                                                                                                                                                                               (Joint Debtor, if any)

                                                                                                                                                                                                                            [If joint case, both spouses must sign.]
                                                                                            -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                        DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                              I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                          compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                          110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                          by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                          accepting any fee from the debtor, as required by that section.


                                                                                          Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                          of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)
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                                                                                           If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                           who signs this document.




                                                                                           Address

                                                                                           X
                                                                                                                Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                         18 U.S.C. § 156.
                                                                                         -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                       President
                                                                                               I, the __________________________________         [the president or other officer or an authorized agent of the corporation or a member
                                                                                         or an authorized agent of the partnership ] of the Smith    Development, Inc.
                                                                                                                                            ___________________________________            [corporation or partnership] named as debtor
                                                                                                                                                                                                                  16
                                                                                         in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets      (total
                                                                                         shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                         Date            1/6/2009                                                                                             Signature:             /s/ M. Kevin Smith
                                                                                                                                                                                                                                     M. KEVIN SMITH
                                                                                                                                                                                                                               [Print or type name of individual signing on behalf of debtor.]
                                                                                                                          [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                 Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                              Case 09-10078-KHK                     Doc 1     Filed 01/06/09 Entered 01/06/09 15:23:52                                Desc Main
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                                                                                                                                  UNITED STATES BANKRUPTCY COURT
                                                                                                                                                Eastern District of Virginia

                                                                                         In Re Smith Development, Inc.                                                                        Case No.
                                                                                                                                                                                                               (if known)


                                                                                                                                     STATEMENT OF FINANCIAL AFFAIRS

                                                                                                         This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                               the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                               information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                               filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                               provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                               indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                               or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                               R. Bankr. P. 1007(m).

                                                                                                         Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                               must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                               additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                               case number (if known), and the number of the question.

                                                                                                                                                            DEFINITIONS

                                                                                                          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                               individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                               the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                               the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                               employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                               in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.
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                                                                                                          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                               their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                               percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                               such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                          1. Income from employment or operation of business

                                                                                                          State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                          the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                              None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                          two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                          the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                          of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                          under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                          spouses are separated and a joint petition is not filed.)

                                                                                                                  AMOUNT                                                SOURCE
                                                                                                   2008                    0.00

                                                                                                   2007           49038.00         Smith Development, Inc.

                                                                                                   2006         398624.00          Smith Development, Inc
                                                                                         Case 09-10078-KHK                    Doc 1    Filed 01/06/09 Entered 01/06/09 15:23:52                              Desc Main
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                                                                                                   2.   Income other than from employment or operation of business

                                                                                         None             State the amount of income received by the debtor other than from employment, trade, profession, or
                                                                                                   operation of the debtor's business during the two years immediately preceding the commencement of this case.
                                                                                                   Give particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                                                   the spouses are separated and a joint petition is not filed.)

                                                                                                    AMOUNT                                                           SOURCE

                                                                                            2008                   0.00

                                                                                            2007                   0.00



                                                                                                   3. Payments to creditors
                                                                                         None
                                                                                                   Complete a. or b., as appropriate, and c.
                                                                                                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases
                                                                                                   of goods or services, and other debts to any creditor made within 90 days immediately preceding the
                                                                                                   commencement of this case unless the aggregate value of all property that constitutes or is affected by such
                                                                                                   transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                                                   a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
                                                                                                   nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13
                                                                                                   must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                   separated and a joint petition is not filed.)
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                                                                                         NAME AND ADDRESS OF CREDITOR                              DATES OF                           AMOUNT             AMOUNT STILL
                                                                                                                                                   PAYMENTS                            PAID                 OWING




                                                                                         None
                                                                                                   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor
                                                                                                   made within 90 days immediately preceding the commencement of the case unless the aggregate value of all
                                                                                                   property that constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual,
                                                                                                   indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                                                   obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and
                                                                                                   credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and
                                                                                                   other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                   and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                              DATES OF                           AMOUNT             AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                               PAYMENTS                            PAID                 OWING
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                                                                                         None
                                                                                                 c. All debtors: List all payments made within one year immediately preceding the commencement of this case
                                                                                                 to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                 separated and a joint petition is not filed.)


                                                                                         NAME AND ADDRESS OF CREDITOR                            DATES OF                     AMOUNT PAID           AMOUNT STILL
                                                                                          AND RELATIONSHIP TO DEBTOR                             PAYMENTS                                              OWING


                                                                                                 4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                         None    a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                                 immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                 must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                                 spouses are separated and a joint petition is not filed.)


                                                                                          CAPTION OF SUIT               NATURE OF PROCEEDING                        COURT OR                              STATUS OR
                                                                                         AND CASE NUMBER                                                       AGENCY AND LOCATION                        DISPOSITION

                                                                                         Nat'l Fire & Marine          Audit Dispute                               Arlington, VA                       Dismissed
                                                                                         Insurance

                                                                                         None    b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
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                                                                                                 within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                                 12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                                 petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                            NAME AND ADDRESS OF                                     DATE OF                                    DESCRIPTION AND
                                                                                          PERSON FOR WHOSE BENEFIT                                  SEIZURE                                   VALUE OF PROPERTY
                                                                                            PROPERTY WAS SEIZED


                                                                                                 5.   Repossessions, foreclosures and returns

                                                                                         None           List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a
                                                                                                 deed in lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement
                                                                                                 of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                                                 property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                 joint petition is not filed.)


                                                                                             NAME AND                                DATE OF REPOSESSION,                                      DESCRIPTION AND
                                                                                            ADDRESS OF                                FORECLOSURE SALE,                                       VALUE OF PROPERTY
                                                                                         CREDITOR OR SELLER                          TRANSFER OR RETURN
                                                                                         Case 09-10078-KHK                Doc 1       Filed 01/06/09 Entered 01/06/09 15:23:52                              Desc Main
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                                                                                                  6. Assignments and Receiverships

                                                                                         None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                                  preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                  any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                  and a joint petition is not filed.)


                                                                                                 NAME AND                                  DATE OF ASSIGNMENT                                TERMS OF
                                                                                                  ADDRESS                                                                                   ASSIGNMENT
                                                                                                OF ASSIGNEE                                                                                OR SETTLEMENT


                                                                                         None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                                  one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                  chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                                  is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                 NAME AND                         NAME AND LOCATION                          DATE OF               DESCRIPTION AND
                                                                                                  ADDRESS                         OF COURT CASE TITLE                         ORDER               VALUE OF PROPERTY
                                                                                                OF CUSTODIAN                           & NUMBER



                                                                                                  7.   Gifts

                                                                                         None           List all gifts or charitable contributions made within one year immediately preceding the commencement of
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                                                                                                  this case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                                  family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                                  under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                                  joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                NAME AND                           RELATIONSHIP                        DATE OF                 DESCRIPTION AND
                                                                                               ADDRESS OF                        TO DEBTOR, IF ANY                       GIFT                   VALUE OF GIFT
                                                                                         PERSON OR ORGANIZATION


                                                                                                  8.   Losses

                                                                                         None            List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                  commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                                  or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                                  spouses are separated and a joint petition is not filed.)


                                                                                            DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                              DATE OF
                                                                                            AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                    LOSS
                                                                                            OF PROPERTY                                 INSURANCE, GIVE PARTICULARS
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                                                                                                   9.   Payments related to debt counseling or bankruptcy

                                                                                         None              List all payments made or property transferred by or on behalf of the debtor to any persons, including
                                                                                                   attorneys, for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a
                                                                                                   petition in bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                    NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                                        OF PAYEE                             NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                                            OTHER THAN DEBTOR                              VALUE OF PROPERTY


                                                                                                   10. Other transfers

                                                                                         None      a.     List all other property, other than property transferred in the ordinary course of the business or financial
                                                                                                   affairs of the debtor, transferred either absolutely or as security within two years immediately preceding the
                                                                                                   commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                                   is not filed.)


                                                                                           NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                               RELATIONSHIP TO DEBTOR                                                                          TRANSFERRED AND
                                                                                                                                                                                                VALUE RECEIVED


                                                                                                   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this
                                                                                                   case to a self-settled trust or similar device of which the debtor is a beneficiary.
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                                                                                         None

                                                                                                NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                            TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                              VALUE OF PROPERTY
                                                                                                                                                                                             OR DEBTOR'S INTEREST
                                                                                                                                                                                                 IN PROPERTY

                                                                                                   11. Closed financial accounts

                                                                                         None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor
                                                                                                   which were closed, sold, or otherwise transferred within one year immediately preceding the commencement of
                                                                                                   this case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments;
                                                                                                   shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage
                                                                                                   houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                   information concerning accounts or instruments held by either or both spouses whether or not a joint petition is
                                                                                                   filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                   ADDRESS                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                OF INSTITUTION                      AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
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                                                                                                   12. Safe deposit boxes

                                                                                         None             List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                   valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                                   under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND                     NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                  ADDRESS OF BANK                THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                OR OTHER DEPOSITORY                   OR DEPOSITORY                                                SURRENDER, IF ANY


                                                                                                   13. Setoffs

                                                                                         None             List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90
                                                                                                   days preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                   include information concerning either or both spouses whether or not a joint petition is filed, unless the spouses
                                                                                                   are separated and a joint petition is not filed.)


                                                                                                NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                              OF                                     OF
                                                                                                                                                            SETOFF                                 SETOFF

                                                                                                   14. Property held for another person

                                                                                         None           List all property owned by another person that the debtor holds or controls.
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                                                                                                    NAME AND                               DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                                 ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                                   15. Prior address of debtor
                                                                                         None
                                                                                                          If the debtor has moved within the three years immediately preceding the commencement of this case, list
                                                                                                   all premises which the debtor occupied during that period and vacated prior to the commencement of this case.
                                                                                                   If a joint petition is filed, report also any separate address of either spouse.


                                                                                                 ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY
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                                                                                                 16. Spouses and Former Spouses
                                                                                         None
                                                                                                    If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                 Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                                 within eight years immediately preceding the commencement of the case, identify the name of the debtor’s
                                                                                                 spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                             NAME


                                                                                                 17. Environmental Sites

                                                                                                 For the purpose of this question, the following definitions apply:

                                                                                                 "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                 releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                                 or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                 wastes, or material.

                                                                                                           "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                                           not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                           "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                                           substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                         None
                                                                                                 a.       List the name and address of every site for which the debtor has received notice in writing by a
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                                                                                                 governmental unit that it may be liable or potentially liable under or in violation of an Environmental Law.
                                                                                                 Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                 SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                 b.     List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                                 release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                         None

                                                                                                 SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                                 c.      List all judicial or administrative proceedings, including settlements or orders, under any Environmental
                                                                                                 Law with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit
                                                                                         None    that is or was a party to the proceeding, and the docket number.


                                                                                                  NAME AND ADDRESS                            DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                                OF GOVERNMENTAL UNIT
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                                                                                                  18. Nature, location and name of business

                                                                                         None     a.     If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                  businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                                  partner, or managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a
                                                                                                  trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                                                  commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                                                                                                  within the six years immediately preceding the commencement of this case.

                                                                                                  If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
                                                                                                  and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more
                                                                                                  of the voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                  If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                  businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                                  percent or more of the voting or equity securities within the six years immediately preceding the commencement
                                                                                                  of this case.

                                                                                          NAME            LAST FOUR DIGITS OF                 ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                          SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                           OTHER INDIVIDUAL
                                                                                                            TAXPAYER-I.D. NO.
                                                                                                          (ITIN)/ COMPLETE EIN
                                                                                         Smith Development,        XX-XXXXXXX               4948 Old Dominion Drive          Home Builder                Jan 1990 to
                                                                                         Inc                                                PO Box 5277                                                  present
                                                                                                                                            Arlington, VA 22205
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                                                                                                  b.    Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined
                                                                                                  in 11 U.S.C. § 101.
                                                                                         None

                                                                                                  NAME                                                                             ADDRESS


                                                                                                Same
                                                                                                                                                                     ,



                                                                                                              [Questions 19 - 25 are not applicable to this case]
                                                                                                                                   *    *     *   *   *   *
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                                                                                                      [If completed on behalf of a partnership or corporation]

                                                                                                      I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                                      attachments thereto and that they are true and correct to the best of my knowledge, information and belief.



                                                                                                      1/6/2009                                                                                   /s/ M. Kevin Smith
                                                                                         Date                                                                            Signature
                                                                                                                                                                                                 M. KEVIN SMITH,
                                                                                                                                                                                                 President

                                                                                                                                                                                                           Print Name and Title

                                                                                                      [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]



                                                                                                                                                                 0 continuation sheets attached
                                                                                                                                                               _____


                                                                                                             Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
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                                                                                         compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b);
                                                                                         (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition
                                                                                         preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
                                                                                         debtor, as required in that section.




                                                                                         Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                         If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                         partner who signs this document.




                                                                                         Address

                                                                                         X
                                                                                         Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                         Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                         not an individual:

                                                                                         If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                         A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                         or imprisonment or both. 18 U.S.C. §156.
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           Arlington County Treasurer
           #1 Courthouse Plaza
           Arlington, VA 22216-0530


           DeLashmutt Assoc
           1120 s. George Mason Dr
           Arlington, VA 22204


           First Horizon Construction Lending
           6650 Rivers Ave, #126-CC#8514
           North Charleston, SC 29406


           James Kovarik, PC
           PO Box 521
           Herndon, VA 20172


           Kevin Smith
           4948 Old Dominion Dr.
           Arlington, VA 22207


           M. Kevin Smith
           4948 Old Dominion Dr.
           Arlington, VA


           McManus, Schor, Asmar 8 Darden, LLP
           1155 15th St, NW,     Suite 900
           Washington, DC 20005


           Wachovia Bank
           PO Box 96074
           Charlotte, NC 28296-0074
                                                                                                   Case 09-10078-KHK       Doc 1 Filed 01/06/09 Entered 01/06/09 15:23:52
                                                                                                                             UNITED STATES BANKRUPTCY COURT
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                                                                                                                                   Eastern District of Virginia



                                                                                         In re   Smith Development, Inc.                         ,
                                                                                                                             Debtor                              Case No.


                                                                                                                                                                 Chapter    11



                                                                                                                                      List of Equity Security Holders

                                                                                            Holder of Security                                       Number Registered           Type of Interest
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                                                                                         B203
                                                                                         12/94
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                                     Eastern District of Virginia
                                                                                                 In re Smith Development, Inc.                                                         Case No. ____________________
                                                                                                                                                                                       Chapter           11
                                                                                                                                                                                                    ____________________
                                                                                                 Debtor(s)
                                                                                                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                         1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                 and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                 rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                  0.00
                                                                                                 For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                  5,000.00
                                                                                                 Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                 0.00
                                                                                                 Balance Due ......................................……………………………………….................... $ ______________

                                                                                         2.      The source of compensation paid to me was:

                                                                                                                  Debtor                  Other (specify)   Kevin Smith
                                                                                         3.      The source of compensation to be paid to me is:
                                                                                                                  Debtor                  Other (specify)

                                                                                         4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                         associates of my law firm.

                                                                                                    I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                         of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.
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                                                                                         5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                  a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                  b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                  c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                          6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                 CERTIFICATION

                                                                                                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                      debtor(s) in the bankruptcy proceeding.

                                                                                                         1/6/2009                                                         /s/ Martin C. Conway, Esq.
                                                                                                      ____________________________________                              __________________________________________________
                                                                                                                     Date                                                                   Signature of Attorney
                                                                                                                                                                          Pesner | Kawamoto | Conway
                                                                                                                                                                        __________________________________________________
                                                                                                                                                                                          Name of law firm
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  B 203
  (12/94)



                             UNITED STATES BANKRUPTCY COURT
                                                 Eastern District of Virginia
   In re:
              Smith Development, Inc.                                 Case No.
                                                                      Chapter 11



                                                      Debtor(s)



            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

  1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr . P. 2016(b), I certify that I am the attorney for the above-named
        debtor(s) and that compensation paid to me w ithin one year before the filing of the petition in bankruptcy, or
        agreed to be paid to me, fo r services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
        in connection with the bankruptcy case is as
        follows:
                                                                                                                         $
       For legal services, I have agreed to accept
                                                                                                                 5,000.00
       Prior to the filing of this statement I have received                                                   $ -5,000.00
       Balance Due

  2. The source of the compensation paid to me was:                              Kevin Smith
               Debtor                                                 Other
  (specify)

  3.          The source of compensation to be paid to me is:
                 Debtor                                               Other
  (specify)


  4.     I have not agreed to share the above-disclosed compensation with any other person unless they are members and
  associates of my law firm.

          I have agreed to share the above-disclosed compensation with a other person or persons who are not members
  or associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
  compensation, is attached.

  5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
     incl uding:
            a.      Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to
            file a petition in bankruptcy;
              b.    Preparation and filing of any petition, schedules, statements of affairs and plan w hich may be required;
              c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
              hearings thereof;
              d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;




              e. [Other provisions as needed]
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         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                             (Continued)




      6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:



                                                  CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment
  to me for representation of the debtor(s) in this bankruptcy proceedings.

      1/6/2009                                                   /s/Martin C. Conway, Esq.

            Date                                       Signature of Attorney

                              Name of law firm         Pesner | Kawamoto | Conway
                                                       7926 Jones Branch Drive
                                                       McLean, VA 22102
                                                       703-506-9440 fax 703-991-2274
                                                       Ptaylor@pkc-law.com
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  UNITED STATES BANKRUPTCY COURT
                                      Eastern District of Virginia
   In re:
            Smith Development, Inc.                    Case No.
                                                       Chapter 11



                                          Debtor(s)


                               INSERT NAME OF FORM HERE




  UNITED STATES BANKRUPTCY COURT
                                      Eastern District of Virginia
   In re:
            Smith Development, Inc.                    Case No.
                                                       Chapter 11



                                          Debtor(s)


                               INSERT NAME OF FORM HERE




                     UNITED STATES BANKRUPTCY COURT
                                      Eastern District of Virginia
   In re:
            Smith Development, Inc.                    Case No.
                                                       Chapter 11



                                          Debtor(s)




                        Declaration of Divisional Venue
  The debtor's domicile, residence, principal place of business or principal assets were
  located for the greater part of the 180 days preceding the filing of the bankruptcy petition
  in Arlington --51013 .

     There is a bankruptcy case concerning debtor's affiliate, general partner, or
  partnership pending in this Division.
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  Date: 1/6/2009


  /s/Martin C. Conway, Esq.
  ____________________________________________
  Signature of Attorney or Pro Se Debtor




  __________________________________________________
  Signature of Joint Debtor (if case is a joint case and
  debtors are not represented by an attorney)
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